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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF FLORIDA
                                 PENSACOLA DIVISION
                                   www.flnb.uscourt.gov
 In re:                                                  Case No.: 19-30975-KKS

 Harold Circero Hoover and Alicia ShaVonn                Chapter 7
 Hoover,

             Debtors.
 _______________________________________/

                               NOTICE OF OPPORTUNITY TO
                                OBJECT AND FOR HEARING

           Pursuant to Local Rule 2002-2, the Court will consider the relief requested in this paper
without further notice or hearing unless a party in interest files a response within twenty-one (21)
days from the date set forth on the proof of service plus an additional three days for service if any
party was served by U.S. Mail, or such other period as may be specified in Fed. R. Bankr. P. 9006(f).

           If you object to the relief requested in this paper, you must file an objection or response
electronically with the Clerk of the Court or by mail at 110 E. Park Avenue, Suite 100, Tallahassee,
FL 32301, and serve a copy on the movant’s attorney, Heckman Law Group, P.L., at P.O. Box
12492, Tallahassee, FL 32317-2492, and any other appropriate person within the time allowed. If
you file and serve a response within the time permitted, the Court will either schedule and notify you
of a hearing or consider the response and grant or deny the relief requested without a hearing.

          If you file a response within the time permitted, the Court will consider that you do not
oppose the relief requested in the paper, will proceed to consider the paper without further notice
or hearing, and may grant the relief requested.

                 MOTION FOR RELIEF FROM THE AUTOMATIC STAY

    SANTANDER CONSUMER U.S.A., INC. ("Creditor"), moves this Court for the entry of an

Order Lifting and/or Modifying the Automatic Stay and all express injunctions, if any, and in

support thereof shows as follows:

   1. This is a contested matter and this Court has jurisdiction over this matter pursuant to 28

U.S.C. § 1334, as referred under 28 U.S.C. § 157, and this matter is a "core proceeding" within the
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meaning of 28 U.S.C. § 157.

    2. Creditor is precluded by the force and effect of paragraph (4) and (5) of § 362(a) of the

Bankruptcy Code from enforcing Creditor's lien against personal property of the estate and the

Debtors.

    3. The amount owed to Creditor is secured by a lien on a 2018 Nissan Murano, V.I.N.:

5N1AZ2MG9JN120859 ("the collateral").

    4. The total balance of the loan was $37,402.54 as of the date of Creditor's affidavit that is

attached as "Exhibit One".

    5. As stated in "Exhibit One", the Debtors are in default on the loan by failing to make the

$829.61 payment that was due on July 5, 2019. The loan is $2,613.27 in arrears. Also, proof of

insurance has not been verified by Creditor as stated in Creditor's affidavit and Creditor requests

proof of the same be filed with any response to this motion.

    6. Creditor obtained and perfected its security interest on the certificate of title to the collateral

as shown by the loan documents and certificate of title attached as "Exhibit Two".

    7. Creditor lacks adequate protection because the Debtors are not making payments. Therefore,

sufficient cause exists to lift the automatic stay as to the collateral.

    8. The Debtors have no equity in the collateral and it is not necessary for an effective

reorganization of the Debtors' affairs. The collateral is worth $23,625.00 according to the N.A.D.A.

guide attached as "Exhibit Three". The amount owed to Creditor is $37,402.54.
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   WHEREFORE, Creditor requests this Court to enter an Order Lifting the Automatic Stay to

allow Creditor to enforce its security interest and in rem remedies as to the collateral.

                                              Heckman Law Group, P.L.

                                              By: /s/ Chad D. Heckman
                                              Florida Bar No.: 0526029
                                              Attorney for Creditor
                                              P.O. Box 12492
                                              Tallahassee, Florida 32317-2492
                                              Phone: (850) 583-4161
                                              E-Service: eservice@heckmanlawgroup.com
                                              HLG File No.: 19-583

                                 CERTIFICATE OF SERVICE

   I CERTIFY that a copy of the foregoing pleading was furnished to the addresses below by U.S.
Mail and/or electronic means via the CM/ECF system on October 9, 2019 to:

Mary Colon, P.O. Box 14596, Tallahassee, FL 32317
Trustee (usual place of business)

Steven D. Jurnovoy, Lewis and Jurnovoy 1100 North Palafox St., Pensacola, FL 32501
Attorney for Debtors (usual place of business)

Harold Circero Hoover and Alicia ShaVonn Hoover, 220 Hunt Lane, Wewahitchka, FL 32465
Debtors (usual place of abode)

                                              Heckman Law Group, P.L.

                                              By: /s/ Chad D. Heckman
                                              Florida Bar No.: 0526029
                                              Attorney for Creditor
                                              P.O. Box 12492
                                              Tallahassee, Florida 32317-2492
                                              Phone: (850) 583-4161
                                              E-Service: eservice@heckmanlawgroup.com
                                              HLG File No.: 19-583
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                                                                                      Collateral Management Services
                                                                            9750 Goethe Road | Sacramento, CA 95827




                                          Santander Consumer USA Inc.
                                              Lien and Title Information


Lienholder

ELT Lien ID
Lienholder           Santander Consumer USA
Lienholder Address   PO Box 961288
                     Ft Worth, TX 76161
Lien Release Date


Vehicle and Titling Information

VIN                  5N1AZ2MG9JN120859                      Issuance Date        6/8/2018
Title Number         0131165842                             Received Date        6/16/2018
Title State          FL                                     ELT/Paper            ELECTRONIC
Year                 2018                                   Odometer Reading
Make                 NISS                                   Branding
Model

Owner 1              ALICIA SHAVONN HOOVER
Owner 2              HAROLD CIRCERO HOOVER
Owner Address        220 HUNT LN
                     WEWAHITCHKA, FL 32465
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                                                    EXHIBIT THREE
